
PER CURIAM.
This court, proceeding in the manner outlined and recommended by the Supreme Court of the United States in Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), having deferred ruling on a motion of the special assistant public defender to withdraw as counsel for the indigent defendant-appellant, and having furnished appellant with a copy of the special assistant public' defender’s memorandum brief, and having allowed the appellant a reasonable specified time within which to raise any points that he chose in support of this appeal, and the appellant having failed to respond thereto, on consideration thereof upon full examination of the proceedings, we conclude that the ap*225peal is wholly frivolous. Whereupon, the special assistant public defender’s said motion to withdraw is granted, and the order or judgment appealed is hereby affirmed. Lusk v. State, 367 So.2d 1088 (Fla. 3rd DCA 1979).
